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               EXHIBIT A
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                                                    COMMONWEALTH OF MASSACHUSETTS

                             WORCESTER ss. .                                  SUPERIOR COURT
                                                                              CIVIL ACTION NO. 2185CV00719

                                                                          )
                             BAY STATE HERITAGE LLC d/b/a                 )
                             GREENDALE FURNITURE,                         )
                                  Plaintiff,                              )
                                                                          )     FIRST AMENDED COMPLAINT
                             V.                                           )           AND JURY CLAIM
                                                                          )
                             AMGUARDINSURANCECOMPANY,                     )
                                 Defendant.                               )
                             _______________                              )

                                                                   I.    PARTIES

                                      1.     Plaintiff, Bay State Heritage LLC d/b/ a Greendale Furniture ("Bay

                             State"), is a limited liability company duly organized under, and existing pursuant to,

                             the laws of the Commonwealth of Massachusetts with a usual place of business located

                             at 25 Watertower Place a/k/ a Unit 1 at Watertower Plaza, City of Leominster, County

                             of Worcester, Commonwealth of Massachusetts (the "Property").

                                      2.     Defendant, AmGuard Insurance Company-(" AmGuard"), is a property

                             and casualty insurance company authorized to conduct business in the Commonwealth

                             of Massachusetts with a usual place of business located at 39 Public Square, City of

                             Wilkes Barre, County of Luzerne, Commonwealth of Pennsylvania.




REGNANTE STERIO LLP
   ATTORNEYS AT LAW

EDGEWATER OFFICE PARK

 401 EDGEWATER PLACE

        SUITE 630

W<>l<EFIELD. MA 01880-6210


   TEL. (701) 246-2525

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                                                                     II.     FACTS

                                                                A.         The Property

                                    3.     At all times material hereto, Bay State operated a retail store selling

                           furniture, mattresses, rugs, decor and additional items typically found in a furniture

                           warehouse store (the "Business Personal Property") at the Property.

                                    4.     At all times material hereto, the Property consisted of 53,225 square feet of

                           space.

                                    5.     The Property was improved by a showroom in which the Business

                           Personal Property was displayed and offered for sale to Bay State's customers.

                                    6.     The Property had a loading dock from which the Business Personal

                           Property was delivered to Bay State and, following a sale, was either delivered to or

                           picked up by customers.

                                    7.     The showroom and loading dock were separated by swinging double-

                           doors which, at all times material hereto, were continuously open such that employees

                           and customers could walk freely to and from the showroom and loading dock.

                                    8.     At all times material hereto, the showroom was heated by a rooftop

                           HVACunit.

                                     9.    At all times material hereto, a Reznor unit heater was mounted to the

                           ceiling in the loading dock in order to supplement the heat for that area of the Property.


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                                                                 B.     The Policy

                                   10.    Pursuant to G.L. c. 175C, § 1, et. seq., AmGuard issued a businessowners

                           policy of insurance.to Bay State, Policy No. BABP194324 (the "Policy"), on or about

                           October 26, 2020. A true and accurate copy of the Policy is attached as Exhibit 1.

                                   11.    The Policy insured the Property, including the Business Personal Property

                           contained therein, and covered the period from October 26, 2020 to October 26, 2021.

                                   12.    At all times material hereto, the Policy was in full force and effect.

                                   13.    In pertinent part, the Policy provides as follows:

                           SECTION I - PROPERTY

                                    A. Coverage

                                    We will pay for direct physical loss of or damage to Covered Property at the
                                    premises described in the Declarations caused by or resulting from any Covered
                                    Cause of Loss.

                                          1. Covered Property

                                          Covered Property includes Buildings as described under Paragraph a.
                                          below, Business Personal Property as described under Paragraph b.
                                          below, or both, depending on whether a Limit of Insurance is shown in
                                          the Declarations for that type of property. Regardless of whether coverage
                                          is shown in the Declarations for Buildings, Business Personal Property, or
                                          both, there is no coverage for property described under Paragraph 2.
                                          Property Not Covered.



                                                  B.    Exclusions

                                                  1.    We will not pay for loss or damage caused directly or
REGNANTE STERIO LLP                                     indirectly by any of The following. Such loss or damage is
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                                                        excluded regardless of any other cause or event that
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                                                        contributes concurrently or in any sequence to the loss.
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                                                       These exclusions apply whether or not the loss event results
                                                       in widespread damage or affects a substantial area.



                                                 e. Frozen Plumbing

                                                       Water, other liquids, powder or molten material that leaks or
                                                       flows from plumbing, heating, air conditioning or other
                                                       equipment (except fire protective systems) caused by or
                                                       resulting from freezing, unless:

                                                        (1) You do your best to maintain heat in the building or
                                                            structure; or

                                                        (2) You drain the equipment and shut off the supply if the
                                                            heat is not maintained.

                           (holding in original and underlining added) (the "Frozen Plumbing Exclusion").

                                    14.   The Policy neither defines "do your best" as used in the Frozen Plumbing

                           Exclusion nor provides any examples of how this may be accomplished.

                                    15.   The Policy fails to define the word "maintain" as used in the Frozen

                           Plumbing Exclusion.

                                    16.   The Policy does not require Bay State to maintain heat in each and every

                           room or space within the building, but rather to maintain heat "in the building."

                                    17.   At all times material hereto, Bay State maintained heat "in the building"

                           by using residual heat from the showroom (from which heat was allowed to travel

                           freely and unimpe9edly to the loading dock1) plus using the heat generated by the

                           ceiling mounted Reznor heating unit.
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       SUITE630

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                           1        This method of heating is known as cross heating.

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                                   18.    At all times material hereto, the temperature for the Reznor heating unit

                           was set at 50-60 degrees.

                                   19.    Cross heating from the showroom coupled with the heat provided by the

                           Reznor heating unit constitute reasonable methods of maintaining heat in the building

                           situated at the Property in order to prevent its pipes from freezing.

                                   20.    Without incident, Bay State successfully used the above-described cross-

                           heating system as well as the heat provided by the Reznor heating unit in innumerable

                           times of subfreezing temperatures prior to January 31, 2021.

                                   21.    Bay State's employees did not report feeling cold or suggest that any part

                           of the building situated at the Property was either uncomfortable or inadequately

                           heated, including but not limited to, the day before the loss (described below) was

                           discovered when the heat operated without incident and was left on after work was

                           completed for the day.

                                    22.   Bay State's customers did not report feeling cold or suggest that any part

                           of the building situated at the Property was either uncomfortable or inadequately

                           heated, including but not limited to, the day before the loss (described below) was

                           discovered when the heat operated without incident.

                                          C.     The Water Loss and AmGuard's Denial of Coverage

                                    23.   On January 31, 2021, the Property sustained significant water damage as a

                           result of a frozen pipe in the loading dock area of the building situated on the Property
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   ATTORNEYS AT LAW
                           (the "Water Loss").
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                                      24.    The area in which the Water Loss occurred serves a critically important

                             function for Bay State as all of its merchandise was received in, and shipped from, that

                             area, and a failure or inadequacy of heat in that area would have been immediately

                             noticeable and/ or detectable.

                                      25.    As a result of the Water Loss, Bay State sustained damages to its Business

                             Personal Property in the replacement cost sum of $452,917.21. A copy of the inventory

                             of damaged and undamaged Business Personal Property is attached as Exhibit 2.

                                      26.    Bay State timely notified AmGuard of the Water Loss and submitted a

                             claim under the Policy for damages to its Business Personal Property.

                                      27.    As a result of the Water Loss, AirCare Environmental Services, Inc.

                             invoiced the sum of $44,591.18 for mitigation services. A copy of the invoice prepared

                             by AirCare Environmental Services, Inc. is attached as Exhibit 3.

                                      28.    On April 9, 2021, AmGuard notified Bay State that it denied liability

                             under the Policy   for the Water Loss on the grounds that Bay State purportedly (a)
                             lacked an insurable interest in the Business Personal Property involved in the Water

                             Loss, and (b) failed to "do its 'best to maintain heat' that would have prevented the

                             water main freeze-up (and resulting fracture) and flooding of the premises" (the

                             "Coverage Denial Letter"). A true and accurate copy of the Coverage Denial Letter is

                             attached as Exhibit 4 and incorporated by reference.

                                      29.    On May 14, 2021, Bay State forwarded a coverage demand letter to
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   ATTORNEYS AT LAW
                             AmGuard (the "Coverage Demand Letter"). A true and accurate copy of the Coverage
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        SUITE 630            Demand Letter :is attached as Exhibit 5 and incorporated by reference.
W.O.KEFIELD, MA 01880-6210


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                                    30.    In the· Coverage Demand Letter, Bay State demanded that AmGuard

                           rescind its coverag~ denial and indemnify Bay State for its covered losses stemming

                           from the Water Loss.

                                    31.    Despite demand, ArnGuard has wrongfully failed, refused and neglected

                           to afford coverage to Bay State under the Policy for its claims for damages thereunder.

                                    32.    At all times material hereto, Bay State acted reasonably and in good faith.

                                    33.    At all times material hereto, Bay State did its best to maintain heat in the

                           building within the meaning and contemplation of the Policy.

                                    34.    AmGuard and Bay State agreed to waive the need to proceed to a

                           reference proceeding pursuant to G.L. c. 175, § 100, et. seq.

                                      D.    Bay State's Insurable Interest in the Business Personal Property

                                    35.    At all times material hereto, Bay State had a tangible, insurable interest in

                           the Business Personal Property which it insured as it owned all of the Business Personal

                           Property which was damaged by the Water Loss and is the lessee of the Property.

                                    36.    As lessee of the Property, Bay State pays the rent and telephone service.

                                    37.    Bay State and PAL Enterprises LLC d/b/a Sam's Furniture and

                           Liquidation Outlet ("Sam's Furniture") share common ownership wherein Saher Abdel-

                           Hadi is the sole owner/ manager of both entities.

                                    38.    Bay State and Sam's Furniture are in the same business of furniture sales

                           and both operate from the Property.
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   ATTORNEYS AT LAW

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       SUITE630

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                                    39.    Bay State had a covered insurable interest in the business and Business

                           Personal Property as it received a benefit from that property and suffered a loss by

                           reason of its damage/ destruction in the Water Loss.

                                    40.    AmGuard improperly denied coverage on the grounds that Bay State

                           purportedly lacked an insurable interest in the Business Personal Property which was

                           damaged/ destroyed in the Water Loss.

                                                                    COUNTI
                                                             (Declaratory Judgment)

                                    41.    Bay State incorporates by reference paragraphs 1 through 40 of the First

                           Amended Complaint as if fully set forth herein.

                                    42.    An actual controversy within the jurisdiction of this Court exists with

                           respect to the matters stated heretofore between Bay State and AmGuard.

                                    43.    At all times material hereto, Bay State has been, and continues to be,

                           entitled to recover under the Policy for the damages to its Business Personal Property at

                           the Property as a result of the Water Loss.

                                    44.    Bay State seeks declarations by this Court that (a) coverage is available

                           under the Policy, under which AmGuard improperly and unlawfully denied coverage,

                           and (b) AmGuard owes Bay State the sum of $452,917.21 (replacement cost value) for

                           damages to its Business Personal Property at the Property plus $44,591.18 for the

                           mitigation invoice as a result of the Water Loss.

REGNANTE STERIO LLP                 WHEREFORE, the plaintiff, Bay State Heritage LLC d/b/ a Greendale Furniture,
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                           requests that this Court declare, pursuant to G.L. c. 231A, that (a) coverage is available
       SUITE630

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                              under the Policy, under which AmGuard improperly and unlawfully denied coverage,

                              and (b) AmGuard owes Bay State Heritage LLC d/b/ a Greendale Furniture the sum of

                              $452,917.21 (replacement cost value) for damages to its Business Personal Property

                              situated within the.Property plus $44,591.18 for the mitigation invoice as a result of the

                              Water Loss.

                                                                      COUNT II
                                                                  (Breach of Contract)

                                       45.    Bay State incorporates by reference paragraphs 1 through 44 of the First

                               Amended Complaint as if fully set forth herein.

                                       46.    AmGuard has materially breached the Policy by failing, refusing and

                               neglecting to (a) afford coverage to Bay State under the Policy for the damages to the

                               Business Personal Property situated within the Property as a result of the Water Loss,

                               and (b) indemnify Bay State in the sum of $452,917.21 (replacement cost value) for

                               damages to its Business Personal Property situated within the Property plus $44,591.18

                               for the mitigation invoice as a result of the Water Loss.

                                        47.   As a result of AmGuard's breach of the Policy, Bay State has suffered

                               damages.

                                        WHEREFORE, the plaintiff, Bay State Heritage LLC d/b/ a Greendale Furniture,

                               demands judgment against the defendant, AmGuard Insurance Company, in the full

                               amount of its damages, plus interest, costs and attorney's fees.

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                                                                     COUNT III
                                             (Breach of Implied Covenant of Good Faith and Fair Dealing)

                                      48.     Bay State incorporates by reference paragraphs 1 through 47 of the First

                            Amended Complaint as if fully set forth herein.

                                      49.     AmGuard's conduct, as heretofore described and incorporated herein, has

                            the effect of destroying or injuring Bay State's contractual rights under the Policy and its

                            rights to receive the benefits therefrom.

                                      50.     AmGuard' s conduct, as heretofore described and incorporated herein,

                            constitutes a breach of the implied covenant of good faith and fair dealing between Bay

                            State and AmGuard.

                                      51.     As a result of AmGuard's breach of the implied covenant of good faith

                            and fair dealing, Bay State has suffered damages.

                                      WHEREFORE, the plaintiff, Bay State Heritage LLC d/b/a Greendale Furniture,

                             demands judgment against the defendant, AmGuard Insurance Company, in the full

                             amount of its damages, plus interest, costs and attorney's fees.

                                                                      COUNT IV
                                                                 (Promissory Estoppel)

                                      52.     Bay State incorporates by reference paragraphs 1 through 51 of the First

                             Amended Complaint as if fully set forth herein.

                                      53.     AmGuard made representations to Bay State that it would issue a policy

                             of insurance to Bay State which would indemnify it in the event that it was caused to
REGNANTE STERIO LLP
   ATTORNEYS AT LAW
                             sustain a water loss at the Property with the intent that Bay State would rely thereon.
r,:OGEWATER OFFICE PARK

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       SUITE 630

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                                     54.      Bay State reasonably relied on AmGuard' s aforesaid representation in

                           placing and paying for his insurance on the Property with AmGuard.

                                     55.      Am.Guard has inexcusably and unjustifiably failed, refused and neglected

                           to perform its obligations to indemnify Bay State.

                                     56.      AmGuard is estopped from refusing to fulfill its promises and contractual

                           obligations to Bay State.

                                     57.      As a result of AmGuard's failure, refusal and neglect to perform its

                           promises and contractual obligations to Bay State, all as described heretofore and

                           incorporated herein, Bay State has suffered damages.

                                     WHEREFORE, the plaintiff, Bay State Heritage LLC d/b/a Greendale Furniture,

                           demands judgment against the defendant, AmGuard Insurance Company, in the full

                           amount of its damages, plus interest, costs and attorney's fees.

                                                                      COUNTV
                                                                  (Equitable Estoppel)

                                     58.      Bay State incorporates by reference paragraphs 1 through 57 of the First

                            Amended Complaint as if fully set forth herein.

                                     59.      By issuing the Policy to Bay State, AmGuard made representations to Bay

                           State concerning the availability of coverage under the Policy in the event that it was

                            caused to sustain a water loss at the Property.

                                     60.      Bay State reasonably relied on AmGuard's representations.
REGNANTE STERIO LLP
                                     61.      Am.Guard has inexcusably and unjustifiably failed, refused and neglected
   ATTORNEYS AT LAW

EOGEWATER OFFICE PARK

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                            to perform its obligations to (a) afford coverage to Bay State under the Policy for the
       SUITE 630

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                           damages to its Business Personal Property situated in the Property as a result of the

                           Water Loss, and (b)_ indemnify Bay State in the sum of $452,917.21 (replacement cost

                           value) for damages to its Business Personal Property contained within the Property plus

                           $44,591.18 for the mitigation invoice as a result of the Water Loss.

                                    62.   AmGuard is equitably estopped from refusing to satisfy and honor

                           representations it made to Bay State.

                                    63.   As a result of AmGuard's failure, refusal and neglect to satisfy its

                           representations to Bay State, Bay State has suffered damages.

                                    WHEREFORE, the plaintiff, Bay State Heritage LLC d/b/ a Greendale Furniture,

                           demands judgment.against the defendant, AmGuard Insurance Company, in the full

                           amount of its damages, plus interest, costs and attorney's fees.

                                                                 JURY DEMAND

                                    The plaintiff, Bay State Heritage LLC d/b/ a Greendale Furniture, claims a trial

                           by jury on all counts so triable.

                                                               BAY STATE HERITAGE LLC d/b/a
                                                               GREENDALE FURNITURE,




                                                                ETH H. HOCHBAUM - BBO NO. 568118
                                                               TYLER 0. CASEY - BBO NO. 681935
                                                               REGN ANTE STERIO LLP
                                                               Edgewater Office Park
                                                               401 Edgewater Place, Suite 630
REGNANTE STERIO LLP                                            Wakefield, MA 01880-6210
   ATTORNEYS AT LAW
                                                               (781) 246-2525
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       SUITE 630           Dated: June~ 2021
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                                                             CERTIFICATE OF SERVICE

                                      I hereby certify that I served a true and accurate copy of the foregoing document,

                            via email, upon David M. O'Connor, Esquire, O'Connor & Associates, LLC, 325 Boston

                            Post Road, Sudbury, Massachusetts 01776 on this 25th day of June, 2021.




                                                                 SETH H. HOCHBAUM - BBO NO. 568118
                                                                 TYLER 0. CASEY - BBO NO. 681935
                                                                 REGN ANTE STERIO LLP
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